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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

        Plaintiff,

                V.



 SALLY ANN JOHNSON,
                                                      Court No. 1:17-CR-10265-001-DJC
        Defendant,

                and

JPMORCjAN chase bank, N.A.,

        Gamishee.

                                 WRIT OF GARNISHMENT


TO:    JPMorgan Chase Bank, N.A.
       Boston, MA

       The United States believes you to be in possession or control of funds or property

belonging to the Defendant, Sally Ann Johnson (the "Defendant") and that she has a substantial

nonexempt interest.

       On January 17,2018, judgment entered in the United States District Court for the District

ofMassachusetts against the Defendant, social security number ***-**-5534,last known address

in Alderson, WV, who is indebted for the judgment amount of $4,293,312.00, plus accrued

interest at the rate of 1.880% percent per day. The current total balance is $4,269,836.34.

       Pursuant to 28 U.S.C. § 3205(c), you must state under oath in your written answer to this

Writ whether you have in your custody, control, or possession any property owned by the

Defendant, including disposable income, and, if so, you must describe such property and the

value of such interest. You must then describe any previous garnishments to which such
         ♦



property is subject and the extent to which any remaining property is not exempt. Property that
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is exempt from this Writ is listed ontheattached Claim for Exemption Form. You must also state
the amount of debt, if any, youanticipate owing to theDefendant inthe future andthetypeof

payment schedule.

       You must immediately withhold and retain any property in which the Defendant

has a substantial nonexempt interest and for which vou are or may become indebted to the

Defendant pending further order of the Court This includes any new property of the

Defendant*s over which vou obtain control or possession while this Writ is in effect This

Writ shall apply to any and all accounts for which the Defendant is signatory, including

accounts under the names of the Defendant


       You must file, within ten (10) days of service of this Writ, vour original written answer

to this Writ with the Clerk of the United States District Court, 1 Courthouse Way, Suite 2300,

Boston, MA 02210. You must also serve a copy of your answer to this Writ upon both the

Defendant, located in Alderson, WV and Brendan T. Mockler, Assistant U.S. Attorney located at

the U.S. Attorney's Office, Financial Litigation Unit, 1 Courthouse Way, Suite 9200, Boston,

MA 02210.


       If you fail to answer this Writ or withhold property in accordance with this Writ, the

United States may petition the Court for an order requiring you to appear before the Court to

answer this Writ and to so withhold property before the appearance date. If you fail to appear, or

do appear and fail to show good cause why you failed to comply with this Writ, the Court shall

enter a judgment against you for the value of the Defendant's nonexempt property. It is illegal to

pay or deliver to the Defendant any item attached by this Writ.
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                        ROBERT M. FARRBLL
                              ited States District Court


Date;(^| l^ji^    By:
                          puty Clerk
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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

        Plaintiff,

                V.



SALLY ANN JOHNSON,
                                                         Court No. I:I7-CR-10265-001-DJC
         Defendant,

                and

JPMORGAN CHASE BANK, N.A.,

         Gamishee.


                               ANSWER OF THE GARNISHEE



                                               ., being duly sworn deposes and says:
                (Affiant)

IF GARNISHEE IS AN INDIVIDUAL:


        That he/she is Gamishee herein doing business in the name of


               (State full name and address of business)

IF GARNISHEE IS A PARTNERSHIP:


        That he/she is a member of                       , a partnership which Gamishee is a partner.

IF GARNISHEE IS A CORPORATION:


        That he/she is the                     (State official title) of Gamishee,

        a corporation, organized under the laws of the State of                                     .

   On                                   , 20        , Gamishee was served with the Writ of

Gamishment.
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   1. Have therebeen previous garnishments in effect?       Yes         No

      If the answer is yes, describe below.



   2. TheGamishee has custody, control, or possession of thefollowing property (non-

      earnings), in which theDebtor maintains an interest, as described below:
               Description ofProperty         Approximate           Description ofDebtor's
         (includefull name(s) onaccounts)       Value                Interest in Property




   3. Gamishee anticipates owingto thejudgment-debtor in the future the following amounts:

                     Amount                                 Estimate date or Period Due

       1.      $

      2.       $

       3.      $

       4.,     $_

       TheGamishee mailed a copy of this answer by first-class mail to: (1) Sally Arm Johnson

(2) Assistant U.S. Attomey Brendan T. Mockler.


                                                    JPMORGAN CHASE BANK, N.A.
                                                    Gamishee

Subscribed and swom to before me this            day of.


                                                    Notary Public
My Commission expires:
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                         ATTACHMENT TO ANSWER OF GARNISHEE

                       Please be advised that according to the E-GovemmentAct of2002,
the government isprohibitedfrom including certain sensitive/personal information inelectronicallyfileddocuments.
                                Do notfile thispage with the U.S. District Court.




The original Answer must be mailed to:

                          Clerk, United States District Court
                          John Joseph MoakleyUnited States Courthouse
                          1 Courthouse Way, Suite 2300
                          Boston, MA 02210


and a copy ofthis Answer must be mailed to:

                          United States Attorney's Office
                          Financial Litigation Unit
                          John Joseph Moakley United States Courthouse
                          1 Courthouse Way, Suite 9200
                          Boston, MA 02210


and to:


                          Sally Ann Johnson - USM/BOP#00577-138
                          FPC Alderson
                          Glen Ray Road, Box A
                          Alderson, WV 24910-0700
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                           INSTRUCTIONS TO THE GARNISHEE


       Pursuant to the Federal Debt Collections Procedures Act of 1990,28 U.S.C. §
3205(c)(3)(A), the United States serves the following instructions upon Gamishee witha copy of
the Writ of Garnishment.

   1. Enclosedis a Writ of Garnishment requesting that you determinewhetheror not you have
      in yourpossession, custody or control any of the funds and/or property of the Defendant
      listed therein, or any other property ofthe Defendant.

   2. You are required bv law to serve a written answer to this Writ within ten (101 days ofthe
       service of this Writ. You are further required to withhold and retain anv property, in
       which the Defendant has a substantial non-exempt interest.

   3. DO NOT SEND ANY FUNDS AND/OR PROPERTY TO THE UNITED STATES
       ATTORNEY'S OFFICE AT THIS TIME; THE FEDERAL DEBT COLLECTION
       PROCEDURES ACT REQUIRES THAT THE GARNISHEE WITHHOLD SUCH
       FUNDS AND/OR PROPERTY PENDING THE ISSUANCE/APPROVAL OF THE
       FINAL ORDER. When an ORDER OF GARNISHMENT is issued/approved in this
       matter, you will be served with a copy ofthat order with instructions as to where to send
       the garnishment payment(s).

   4. If vou fail to answer this Writ or to withhold oropertv in accordance with the Writ the
       Court may find vou liable for that amount of the Defendant's non-exempt property which
       vou failed to withhold. Additionally, vou mav be held liable for a reasonable attorney's
       fee to the United States if the United States filed a petition to the Court requesting an
       explanation for vour failure to comply with this Writ.

   5. A form answer has been included with these instructions for your use, should you desire
      to'use it. You are not required to use the form answer. If you use the form answer,
      please fill out the information completely and send the original to the Clerk of Court as
      directed in the Writ of Garnishment. Copies of your answer must be mailed to the United
      States Attorney's Office and the Defendant.

   6. If you have any additional questions concerning this procedure, please call the United
      States Attorney's Office, Financial Litigation Unit, at telephone number (617) 748-3100,
      or by mail to: United States Attorney's Office, Financial Litigation Unit, I Courthouse
      Way, Suite 9200, Boston, MA 02210. The United States Attorney's Office cannot
      provide you with legal advice on this matter; for legal advice, you should contact an
       attorney.

            Ifyou are unsure how to proceed, you may want to consult an attorney.
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                       CLAIM FOR EXEMPTION FORM
                       EXEMPTIONS UNDER FEDERAL LAW


NOTE:          Pursuant to 18 U.S.C. § 3613(a)(1), only certain property exempt from levy
               pursuant to the Internal Revenue Code shall be exempt from enforcement
               of a criminal restitution and/or fine obligation under Federal Law.

        I claim that the exemption(s) from enforcementthat are checked below apply:

          mi Wearing apparel and school books (26 U.S.C. §6334(a)(1)).
          SO Fuel, Provisions, Furniture, and Personal Effects upto $9,380 (26 U.S.C. §
              6334(a)(2)).

          SO Books and tools of a trade, business, orprofession upto$4,690 (26 U.S.C. §
              6334(a)(3)).

          SO Unemployment benefits (26 U.S.C. §6334(a)(4)).
          SO Undelivered mail (26 U.S.C. § 6334(a)(5)).
          SO Certain annuity and pension payments (26 U.S.C. §6334(a)(6)).
                   Annuity or pension payments under the Railroad
                   retirement     Act,   benefits   under   the   Railroad
                   Unemployment Insurance Act, special pension
                   payments received by a person whose name has been
                   entered on the Army, Navy, Air Force, and Coast
                   Guard Medal of Honor roll (38 U.S. C. § 1562), and
                   annuities based on retired or retainer pay under 10
                   U.S.C. § 73.

          SO Workmen's compensation (26 U.S.C. § 6334(a)(7)).
          SO Judgments for support ofminor children (26 U.S.C. §6334(a)(8)).
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         • im Certain service-connected disability payments (26 U.S.C. § 6334(a)(10)).
                       Any amount payable to an individual as a service-
                       connected (within the meaning of section 101 (16)
                       of title 38, United States Code) disability benefit
                       under -
                                 (A) subchapter II, in, IV, V, or VI of
                                 chapter 11 of such title 38, or
                                 (B) chapter 13,21,23,31,32,34,35,37, or
                                 39 of such title 38.


             [m Assistance under Job Training Partnership Act (26 U.S.C. §6334(a)(12)).
The statements made in this claim of exemptions and request for hearing as to exemption
entitlement and fair market value ofthe propertydesignated are made and declared under penalty
of peijury that they are true and correct.

QLI I hereby request a court hearing todecide the validity ofmy claims. Notice ofthe
hearing should be given to me by mail at:




                        (Address)



 Date    ,                                        Signature of Defendant


                                                  Defendant's printed or typed name
